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                                                                   U.S. DISTRICT COURT
                                                              EASTERN DISTRICT OF ARKANSAS
                                                                                        FILED
                         IN THE UNITED STATES DISTRICT COURT                            OCT 3 1 2019
                            EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA                       )
                                               )
V.                                             )       No.4:17CR00111-19JM
                                               )
ANTONIO L. LEWIS                               )


                                      PLEA AGREEMENT

       The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and

through Benecia B. Moore, Assistant United States Attorney, and ANTONIO L. LEWIS,

defendant, represented by the undersigned counsel, hereby agree to the following terms and

conditions in connection with the above referenced proceedings.

       1.       GUILTY PLEA: The defendant will waive indictment and permit the United

States to proceed by Superseding Information charging the defendant with conspiracy to distribute

and possess with intent to distribute a controlled substance (heroin), a violation of Title 21, United

States Code, Section 846. The defendant also agrees to enter a plea of guilty to the Superseding

Information. The United States agrees to move for dismissal of the Indictment against the

defendant in this matter upon the Court's acceptance of the guilty plea. This is a Federal Rule of

Criminal Procedure 1 l(c)(l)(A) and (B) plea agreement.

       2.       ELEMENTS OF THE CRIME: The parties agree the elements of the offense to

which the defendant will plead guilty are:

                A.     Two or more persons reached an agreement or came to an understanding

to possess with intent to distribute and to distribute a controlled substance;




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                   B.    The defendant voluntarily and intentionally joined the agreement or

understanding, either at the time it was first reached or at some later time while it was still in

effect;

                   C.    At the time the defendant joined in the agreement or understanding, he knew

the purpose of the agreement or understanding; and

                   D.    The amount of heroin involved in the conspiracy was at least 100 grams.

          The defendant agrees that he is guilty of the offense charged and each of these elements is

true.

          3.       PENALTIES:

                   A.    STATUTORY PENALTIES: The penalty for the charge set forth in Count

1 is not less than 5 years and not more than 40 years imprisonment, a fine of not more than

$5,000,000, not less than 4 years' supervised release, and a $100 special assessment.

                   B.    SUPERVISED RELEASE: Supervised release is a period of time following

imprisonment during which defendant will be subject to various restrictions and requirements.

Defendant understands that if defendant violates one or more of the conditions of any supervised

release imposed, the defendant may be returned to prison for all or part of the term of supervised

release, which could result in defendant serving a total term of imprisonment greater than the

statutory maximum stated above.

          4.       WAIVERS:     The defendant acknowledges that he has been advised of and fully

understands the nature of the charges to which the plea is offered, the mandatory minimum penalty

provided by law, if any, and the maximum possible penalty provided by law. The defendant further

understands that by entering into this Agreement and Addendum, he is waiving certain

constitutional rights, including, without limitation, the following:


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        A.      The right to appeal or collaterally attack, to the full extent of the law, all non-

jurisdictional issues, including any forfeiture or restitution order, as follows:

                        ( 1)    the defendant waives the right to appeal all non-jurisdictional issues

including, but not limited to, any issues relating to pre-trial motions, hearings and discovery and

any issues relating to the negotiation, taking or acceptance of the guilty plea or the factual basis

for the plea, including the sentence imposed or any issues that relate to the establishment of the

Guideline range, except that the defendant reserves the right to appeal claims of prosecutorial

misconduct and the defendant reserves the right to appeal the sentence if the defendant makes a

contemporaneous objection because the sentence imposed is above the Guideline range that is

established at sentencing;

                        (2)    the defendant expressly acknowledges and agrees that the United

States reserves its right to appeal the defendant's sentence under Title 18, United States Code,

Section 3742(b) and United States v. Booker, 543 U.S. 220 (2005);

                        (3)     the defendant waives all rights to collaterally attack the conviction

and sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

Code, Section 2255, except for claims based on ineffective assistance of counsel or prosecutorial

misconduct;

                        (4)     the defendant waives the right to have the sentence modified

pursuant to Title 18, United States Code, Section 3582(c)(2);

                        (5)     the defendant waives the right to appeal the Court's determination

of the amount of restitution and subsequent restitution order, if any; and,

                        (6)     the defendant waives the right to appeal the Court's determination

of any forfeiture issues and subsequent forfeiture order, if any.


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                B.     The right to plead not guilty or to persist in that plea if it has already been

made, and the right to a speedy and public trial before a jury;

                C.     The right to be presumed innocent and to have the burden of proof placed

on the United States to establish guilt beyond a reasonable doubt;

                D.     The right to confront and cross examine witnesses;

                E.     The right to testify in his own behalf if the defendant so chooses, or, the

right to remain silent and not be compelled to testify, and to have that choice not used against the

defendant;

                F.     The right to call witnesses and to require those witnesses to appear by

issuing subpoenas.

                G.     Pursuant to Federal Rule of Criminal Procedure 1 l(b)(l)(O), the defendant

understands that upon conviction, a defendant who is not a United States citizen may be removed

from the United States, denied citizenship, and denied admission to the United States in the future.

       5.       STIPULATIONS: The United States and the defendant stipulate to the following:

                A.     The parties agree that the base offense level for the offense of conviction is

determined by the quantity of controlled substances involved in the offense. The parties agree that

the amount of heroin involved in the offense is at least 1 kilogram but less than 3 kilograms,

rendering a base offense level of30 under U.S.S.G. § 2Dl.l(c)(5). However, nothing in this plea

agreement shall prevent the base offense level and/or the defendant's criminal history category

from being calculated under U.S.S.G. § 4Bl.1 (Career Offender), if found to apply in this case.

                B.     The defendant is eligible for a two-level reduction for acceptance of

responsibility unless the defendant takes any action between the entry of the guilty plea and

imposition of the sentence that is inconsistent with acceptance ofresponsibility. If the offense level


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is 16 or greater, the determination of whether the defendant is eligible for a third level reduction

for acceptance of responsibility will be made by the United States at the time of sentencing.

               C.      If the defendant meets all of the requirements for the safety valve under 18

U.S.C. § 3553(±), he may receive a two-level reduction in the base offense level pursuant to

U.S.S.G. § 2Dl.l(b)(18). If he does not qualify for a two-level reduction under U.S.S.G. §

2Dl.l(b)(18), but otherwise qualifies under 18 U.S.C. § 3553(±), the United States agrees to file a

Safety Valve Motion for Two-Level Variance at the appropriate time.

               D.      The parties stipulate that no other enhancements or reductions under Section

2Dl.1, Chapter 3, or Chapter 5 of the Guidelines apply, other than those specifically set out in this

Agreement and its Addendum.

               E.      The defendant specifically waives any and all challenges to the searches,

seizures, arrests, statements, and forfeitures that have taken place as of the date of the execution

of this plea agreement by the defendant in this investigation by any entity, and in any forum where

the offense may be pursued and/or forfeiture may be sought. Defendant will assist in executing

any requested waiver of challenge and relinquishment of rights to any and all assets that have been

seized to date in this investigation by any participating agency or department, in any forum where

the forfeiture may be sought.

               F.      The defendant stipulates that the following facts are true: In December

2015, FBI and the North Little Rock Police Department began investigating a drug-trafficking

organization, distributing crack cocaine in the downtown North Little Rock area. Throughout the

investigation, FBI identified several targets in both Little Rock and North Little Rock, and obtained

several wiretaps, including wiretaps on telephones used by Aaron Laray Clark, aka "Black," the

user of Target Phones 7 and 9. Analysis of Target Phones 7 and 9 revealed that Clark supplied


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the defendant, Antonio L. Lewis, with multi-ounce quantities of heroin, which Lewis redistributed

to others. For example, on October 21, 2016, at 10:26 p.m., in Call No. 111 on Target Phone 9,

Lewis, using (501) 791-4178 called Clark, and they discussed selling heroin to co-defendants

Lucas Murray and Alicia Fullington. Clark went out of town, so Fullington and Murray called

Lewis to get re-supplied with heroin. Lewis was nervous about selling heroin to Murray and

Fullington because police had just executed a search warrant at their residence. On October 24,

2016, at 6:59 p.m., Lewis called Clark at Target Phone 9. During this call, Lewis complained

about the quality of another supplier's heroin. Clark said, "They be using that lactose, and that

lactose cool, but you gotta put that Dormin in there, too. You hear me," meaning heroin dealers

should cut their heroin with both lactose and Dormin. Lewis responded, "Yeah, that what I be

using." Clark asked, "You had bought it from him?" Lewis replied, "Yeah, I had got it twice,

two days in a row." Clark said, "Yeah, the thing is, they still buying though," meaning the

customers will still buy the heroin. Lewis agreed, "Yeah, they gonna do that." FBI agents on

surveillance during the wiretap on Target Phone 9 watched Lewis and Clark meet to conduct drug

transactions on October 24, 30, and 31, 2016. Lewis agrees that the amount of heroin attributable

to him throughout the conspiracy period is at least 1 kilogram but less than 3 kilograms.

       The parties understand that the Court is not bound by these stipulations. The defendant

further understands that if the Court does not accept this Plea Agreement, the defendant is not

entitled to withdraw the guilty plea or otherwise be released from defendant's obligations under

this Agreement and Addendum.

       6.       SENTENCING GUIDELINES: It is specifically understood by the defendant

that the Sentencing Guidelines are not mandatory but are advisory, and that the Court is to consult

them in determining the appropriate sentence. The defendant understands that the determination


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of the applicability of the Guidelines and of the appropriate sentence will be made by the Court.

The defendant is aware that any estimate of the probable sentencing range under the Sentencing

Guidelines that the defendant may have received from the defendant's counsel, the United States,

or the Probation Office, is merely a prediction, not a promise, and is not binding on the United

States, the Probation Office, or the Court. The United States makes no promise or representation

concerning what sentence the defendant will receive and the defendant cannot withdraw a guilty

plea, or otherwise avoid the defendant's obligations under this Agreement and Addendum, based

upon the actual sentence imposed by the Court. The parties understand and agree that if the

guideline range is greater or less than the defendant or the United States expected it to be, and/or

the sentence imposed by the Court is greater or lesser than anticipated, neither the defendant nor

the United States will be allowed to withdraw, nor request withdrawal of, the guilty plea, nor be

excused from any obligation under this Agreement and Addendum.

       7.        ALLOCUTION: The United States reserves the right to bring any and all facts

which it believes are appropriate to the attention of the Court.

        8.       COOPERATION IN THE SENTENCING PROCESS:

                 A.    The defendant agrees to truthfully provide all information to the Probation

Office as is needed for preparation of the pre-sentence report, including, but not limited to, criminal

history information. The defendant shall voluntarily provide a complete and truthful written

accounting of the defendant's criminal history to the Probation Office.

                 B.    The defendant agrees to execute all waivers necessary for the preparation

of the pre-sentence report.

                 C.    The defendant understands and acknowledges that the defendant's

obligation of disclosure regarding criminal history is not limited to arrests and convictions reported


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 in computer databases, but requires the defendant to disclose all arrests and/or convictions,

 including any juvenile matters, regardless of whether the defendant believes the arrest/conviction

 counts under the Sentencing Guidelines.

                 D.     The defendant is required to comply with these obligations no later than the

 expiration of the date on which objections to the pre-sentence report are due.

        9.       FINANCIAL MATTERS:

                 A.    FINANCIAL STATEMENT: The defendant agrees to fully and truthfully

 complete a Financial Statement provided by the United States Probation Office.

                 B.    FINES: The defendant understands that unless the Court determines that

 the defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the

 Sentencing Reform Act of 1984.

                 C.     SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the

 United States a special assessment of $100.00 per count, as required by Title 18, United States

 Code, Section 3013. This special assessment is to be paid by bank cashier's check or money order

 as directed by the Court. Cashier's checks or money orders should be made payable to "Clerk,

 United States District Court."

        10.      DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United

' States Attorney for the Eastern District of Arkansas will bring no further charges against the

 defendant for any acts or conduct arising out of the events described in the Superseding

 Information, which is the subject of this action, unless the defendant breaches this Agreement and

 Addendum.

         11.     RECORDS: The defendant hereby waives all rights, whether asserted directly or

 by a representative, to request or receive from any department or agency of the United States any


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records pertaining to the investigation or prosecution of this case, including without limitation any

records that may be sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the

Privacy Act of 1974, 5 U.S.C. Section 552a.

        12.    CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwise

expressly specified herein, this Agreement and Addendum does not bar or compromise any civil

or administrative claim pending or that may be made against the defendant, including but not

limited to tax matters.

        13.    EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT
               AND ADDENDUM:

               A.         Defendant acknowledges and understands that if the defendant violates any

term of this Agreement and Addendum, engages in any further criminal activity prior to

sentencing, or fails to appear for any subsequent proceeding including sentencing, the United

States shall have, in addition to all other rights and remedies otherwise available, the right to:

                          (1)    terminate this Agreement and Addendum; or

                          (2)    proceed with this Agreement and Addendum and

                                 (a)    deny any and all benefits to which the defendant would

otherwise be entitled under the terms of this Agreement and Addendum; and/or

                                 (b)    advocate for any sentencing enhancement that may be

appropriate.

               B.         In the event the United States elects to terminate this Agreement and

Addendum, the United States shall be released from any and all obligations hereunder. The

defendant acknowledges and understands that the agreement of the United States to dismiss any

charge is conditioned upon final resolution of this matter. If this Agreement and Addendum is



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terminated or if the defendant's conviction ultimately is overturned, then the United States retains

the right to reinstate any and all dismissed charges and to file any and all charges which were not

filed because of this Agreement and Addendum.

                 C.    The defendant hereby knowingly and voluntarily waives any defense based

upon the applicable statute of limitations and/or the Speedy Trial Act, for any charges reinstated

or otherwise filed against the defendant as a result of defendant's breach of this Agreement and

Addendum, so long as the United States initiates any otherwise time barred action within one year

of termination or revocation of this Agreement and Addendum.

                 D.    In the event that the Agreement and Addendum is terminated or if the

defendant successfully moves to withdraw his plea, any statement made by the defendant in

negotiation of, or in reliance on this Agreement and Addendum, including any statements made in

the course of a proffer, this Agreement, the stipulations in paragraph 5 of this Agreement, and the

plea colloquy:

                       (1)    may be used in the United States' case in chief and to cross examine

the defendant should he testify in any subsequent proceeding; and/or

                       (2)    any leads derived therefrom may be used by the United States.

The defendant waives any and all rights to the contrary and shall assert no claim under the United

States Constitution, any statute, or any rule of procedure or evidence to the contrary, including

Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure 1 l(f). Defendant has been

advised of his rights pursuant to Federal Rule of Evidence 410 and Federal Rule of Criminal

Procedure 11 (f) and waives these rights.




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        14.    PARTIES:       This Agreement and Addendum is binding only upon the United

States Attorney's Office for the Eastern District of Arkansas and the defendant. It does not bind

any United States Attorney outside the Eastern District of Arkansas, nor does it bind any other

federal, state or local prosecuting, administrative, or regulatory authority.

        15.    MISCELLANEOUS:

               A.      MODIFICATION:          No term or prov1s10n contained herein may be

modified, amended or waived except by express written agreement signed by the party to be bound

thereby.

               B.      HEADINGS AND CAPTIONS:                  Subject headings and captions are

included herein for convenience purposes only and shall not affect the interpretation of this

Agreement and Addendum.

               C.      WAIVER:       No waiver of a breach of any term or provision of this

Agreement and Addendum shall operate or be construed as a waiver of any subsequent breach or

limit or restrict any other right or remedy otherwise available. Any waiver must be expressly stated

in writing signed by the party to be bound thereby.

               D.      RIGHTS AND REMEDIES CUMULATIVE: The rights and remedies of

the United States expressed herein upon any breach hereunder by the defendant are cumulative

and not exclusive of any rights and remedies otherwise available to the United States in the event

of any breach of this Agreement and Addendum by defendant.

               E.      JOINT NEGOTIATION:              This Agreement and Addendum has been

mutually negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall

not be interpreted against any party by reason of its drafting of this Agreement and Addendum,

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but instead shall be interpreted according to the application of the general rules of interpretation

for arms-length agreements.

        16.    NO OTHER TERMS: This document and the Addendum completely reflect all

promises, agreements and conditions made between the parties, constitute the entire agreement

between the parties and supersedes any and all prior agreements or understandings between the

parties, oral or written, with respect to the subject matter hereof.

        17.    APPROVALS AND SIGNATURES:

               A.      DEFENDANT: The defendant has read this Agreement and Addendum

and carefully reviewed every part of it with his attorney. The defendant understands and

voluntarily agrees to the terms and condition of this Agreement and Addendum. Further, the

defendant has consulted with his attorney and fully understands his rights with respect to the

provisions of the United States Sentencing Guidelines which may apply to this case. No other

promises or inducements have been made to the defendant, other than those expressly contained

in this Agreement and Addendum. In addition, no one has threatened or forced the defendant in

any way to enter into this Agreement and Addendum. Defendant further acknowledges that

defendant has entered into this Agreement and Addendum, consciously and deliberately, by

defendant's free choice, and without duress, undue influence or otherwise being forced or

compelled to do so, and this Agreement and Addendum constitutes the legal, valid and binding

obligation of the defendant, fully enforceable against defendant in accordance with its terms.

Finally, the defendant is satisfied with the representation of his attorney in this case.

                B.      DEFENSE COUNSEL:            Defense counsel acknowledges that she is the

attorney for the defendant, and that she has fully and carefully discussed every part of this

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Agreement and Addendum with the defendant. Further, defense counsel has fully and carefully

advised the defendant of the defendant's rights, of possible defenses, and of the consequences of

entering into this Agreement and Addendum, including the possible consequences of not

complying with this Agreement and Addendum. To counsel's knowledge, the defendant's decision

to enter into this Agreement and Addendum is an informed and voluntary decision.

       DATED this 31st day of October, 2019.



                                                    CODY HILAND
                                                    United States Attorney




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ANTONIO L. LEWIS
Defendant




Attorney for Defendant




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